859 F.2d 150Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mack PEYATT, Plaintiff-Appellant,andDavid A. Gill, Isaiah Maxie, Plaintiffs,v.A.V. DODRILL, Jr., Commissioner, WV Department ofCorrections, C.M. White, Warden, Huttonsville CorrectionalCenter, Joseph W. Silvester, Associate Warden, Treatment andClassification, Defendants-Appellees.
    No. 88-6029.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 11, 1988.Decided Sept. 15, 1988.
    
      Mack Peyatt, appellant pro se.
      Before SPROUSE and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Mack Peyatt appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Peyatt v. Dodrill, CA-2:88-0450 (S.D.W.Va. Apr. 4, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    